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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE                                  Civil Action No. 17-cv-11633
 COMMISSION,

                         Plaintiff,

         v.

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,

                         Defendants




 DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF MOTION TO STAY (DKT#284)
              LEAVE TO FILE REPLY GRANTED 5/18/20 (DKT#290)

        A stay should be granted because this Court has no jurisdiction to proceed due to the appeal to

the First Circuit. The SEC has erroneously moved to dismiss the appeal. Contrary to the SEC’s

argument, it is for the First Circuit, not this Court, to decide if this Court has been divested of

jurisdiction by the appeal. U.S. v. George 841 F3d. 55, 71-72 (1st Cir. 2016)

        Even if arguendo this Court did still have jurisdiction to decide remedies (it doesn’t) it should

exercise its discretion and stay any determinations (including remedies) pending the Supreme Court’s

decision in the Liu v. SEC 140 S. Ct. 451 (2019); Liu v. SEC 2019 WL 2354737 (May31, 2019) case.

The Liu case will decide the legal issue of whether the SEC is legally authorized to seek and be awarded

“disgorgement” in civil cases for violation of the securities laws- the very “remedy” the SEC is asking

this Court to award it. It makes no sense for this Court to proceed to decide whether the SEC is entitled

to disgorgement when the Supreme Court is currently deciding that issue. The SEC is asking this Court


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to commit legal error by awarding “disgorgement” when it is likely the Supreme Court will again rule

that disgorgement is a penalty, not a remedy, and therefore the SEC cannot be awarded disgorgement.

Such an erroneous award would cause irreparable reputational and economic harm to Defendants and

could jeopardize Defendants’ ability to exercise their appellate rights to correct such an erroneous award

and the underlying summary judgment.

        Numerous other courts in this situation, where a higher court is deciding the law on the very

issue before the court, have wisely exercised their discretion and stayed a determination until the higher

court decides that controlling issue. Marshel v. AFW Fabric Corp. 552 F2d. 471, 472 (2nd Cir. 1977);

Beydoun v. Holder 2015 WL 631948 at *3-4 (E.D. Mich. Feb. 13, 2015); Amazing Raisins v. Ocean

Spray Cranberries, Inc. 2008 WL 1151084 at *1 (D. Mass. Aug. 8, 2008)



                                              ARGUMENT

   I.      THE NOTICE OF APPEAL DIVESTED THIS COURT OF JURISDICTION TO
           PROCEED FURTHER

        The SEC’s assertion that this Court can ignore the filing of an appeal and continue to

exercise jurisdiction including deciding whether to award “remedies,” if any, is simply wrong.

Once the appeal was filed, after all liability claims had been resolved, this Court was divested of

jurisdiction to proceed to determine whether to award remedies or make any other substantive

rulings. United States v. George 841 F3d. 55, 71-72 (1st Cir. 2016):

                       The district court made clear… that forfeiture
                       remained an open, unresolved issue, and took no
                       position as to whether forfeiture would be ordered at
                       all. Under these circumstances, the pendency of the
                       appeal deprived the court of jurisdiction to issue its
                       amended judgment.

Accord, Griggs v. Provident Consumer Discount Co. 459 U.S. 56, 58 (1982).


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       It is for the Court of Appeals, not this Court, to decide if it has appellate jurisdiction.

United States v. George supra 841 F3d. at 71-72; United States v. Brooks 145 F3d. 446, 456-457

(1st Cir. 1998). The SEC has moved to dismiss the appeal, making the same arguments it makes

here in opposing Defendants’ motion to stay. This Court has no jurisdiction to decide whether

the notice of appeal is proper, especially when that very issue is currently pending before the

First Circuit on the SEC motion to dismiss this appeal. (See Exhibit A attached hereto.) This

Court and the First Circuit should not both be deciding the issue of appellate jurisdiction. U.S. v.

Brooks supra 145 F3d. at 456 [“notice of appeal divests a district court of authority to proceed

with any matter touching upon, or involved in the appeal.” (citation omitted)… [i]t derives from

the notion that shared jurisdiction almost always portends a potential for conflict and

confusion.”] That is why the First Circuit in Brooks held that it was error for the “district court to

inexplicably insist [   ] on commencing the trial after he had notice of the government’s

appeal…” and why its decisions after notice of appeal were “nullities.” Brooks supra 145 F3d. at

457

       The SEC’s reliance on United States v. Mala 7 F3d. 1058 (1st Cir. 1993) is misplaced. In

Mala, unlike the present case, the appellant appealed an interlocutory order denying defendants’

motion to suppress evidence prior to trial. After trial the Court of Appeals held that the defendant

“did not identify then, nor has he identified now, any jurisdictional hook on which his appeal

arguably might hang” and dismissed the initial appeal. That is not our case. Here the Navellier

defendants have identified several grounds for appeal. First, the summary judgment together with

the judgment dismissing Counts Three and Four with prejudice (DKT#’s 260 and 266)

constitutes a final judgment from which an appeal can be taken, even without a decision on

remedies Mills v. Electric Auto-Lite Company 296 U.S. 375, 379 n.3 (1970); United States v.



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George supra 841 F3d. at 71-72 especially when the “remedy” sought by the SEC is not a

“remedy” this Court can even award. Kokesh v. SEC 137 S. Ct. 1635, 1644 (2017); Liu v. SEC

140 S. Ct. 451 (2019); Liu v. SEC 2019 WL 2354737 (May 31, 2019)

       Second, the First Circuit Court of Appeals has appellate jurisdiction over this appeal

pursuant to 28 U.S.C. §1292(a)(1)- an immediate appeal from an interlocutory order which has

the serious effect of granting or refusing an injunction. Manchester Knitted Fashions, Inc. v.

Amalgamated Cotton Garment and Allied Industries Fund 967 F2d. 688, 690 (1st Cir. 1992) [the

order of the district court might have a serious consequence and the order can be effectively

challenged]; Carson v. American Brands, Inc. 450 U.S. 79, 84, 101 S. Ct. 993, 997, 67 L. Ed 2d.

59 (1981); SEC v. Citigroup Global Markets Inc. 752 F3d. 285, 293 (2nd Cir. 2014)

       Even if arguendo this Court’s orders are not a final judgment (they are), the First Circuit

still has jurisdiction to consider this appeal pursuant to 28 U.S.C. §1292(a)(1) because the effect

of this Court’s orders was to refuse to grant Appellants injunctive relief by refusing to enforce

the settlement and dismissing the SEC’s claims against Appellants, including the SEC’s claim

for injunctive relief to bar Defendants in the future from violating the Investment Advisers Act

as a predicate for lifetime bans from the securities industry.

       The essence of the selective enforcement allegations were to enjoin the SEC from

pursuing this action since these claims had been settled pursuant to a settlement agreement.

Granting summary judgment, dismissing the selective enforcement claim, had the effect of

refusing to order enforcement of the settlement agreement. That is the equivalent of denial of

injunctive relief, which refusal is an appealable order. SEC v. Citigroup Global Markets Inc. 752

F3d. 285, 293 (2nd Cir. 2014). In Citigroup the SEC and Citigroup also reached a settlement

agreement whereby Citigroup agreed to not engage in violation of the Securities Act and to take



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steps not to engage in securities fraud in the future. The district court refused to approve the

settlement, in part because it felt an injunction to obey the law was not sufficient. The district

court ordered the parties to trial. The SEC sought an interlocutory appeal pursuant to 28 U.S.C.

§1292(a)(1) which the Court of Appeals allowed because the effect of the court’s denial of the

request to approve the settlement was to deny enforcement of a settlement which would cause

irreparable harm in forcing the parties to trial.

        Here this Court’s denial of summary judgment as to Defendants’ selective enforcement

had the effect of refusing to enforce the settlement and forcing continuation of this enforcement

litigation against Appellants.

        The First Circuit has likewise held that an appeal from an interlocutory order, which

might have a serious, perhaps irreparable consequence and which order can be effectively

challenged, confers appellate jurisdiction pursuant to 28 U.S.C. §1292(a)(1). In Manchester

Knitted Fabrics Inc. v. Amalgamated Cotton Garment and Allied Industries Fund 967 F2d. 686,

690 (1st Cir. 1992) the district court refused to order an employer to contribute to a retirement

fund for the benefit of employees. The fund appealed and the First Circuit held that although the

court did not specifically grant injunctive relief, the effect of the district court’s order refusing to

order the employer to contribute was injunctive which had the serious consequences of possibly

depriving employees of future benefits.

        Here, too, the effect of this Court’s erroneous summary judgment order not only forces

the Defendants to continue to litigate claims that have already been settled, but improperly

exposes Defendants to $28 million in factually unsupported and legally unauthorized

disgorgement when no disgorgement is authorized, or, even if disgorgement was legally allowed,

disgorgement could not exceed $228,856 (DKT#277, p. 9). Not staying proceeding could also



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effectively deprive Defendants of the opportunity to fairly appeal the summary judgment

decision (where this Court improperly decided disputed material issues of fact (Noonan v.

Staples, Inc. 556 F3d. 20, 25 (1st Cir. 2009)). A huge, legally and factually unsupportable

disgorgement award, when the Supreme Court could well rule that no disgorgement amount is

allowed, (and when the SEC itself has agreed that $369,000 is the proper “disgorgement”

amount) would make it extremely difficult, if not impossible, for Defendants to post an appeal

bond to pursue the appeal, thereby irreparably harming Defendants by possibly depriving them

an opportunity to appeal erroneous decisions. Defendants believe the SEC is purposely opposing

a stay (and the pending appeal) in order to induce this Court to rush to issue a huge, unsupported

and legally unauthorized disgorgement award before the Supreme Court rules disgorgement is

not authorized. The SEC knows the $28 million in disgorgement it seeks is not a legally

authorized remedy and is far in excess of the $228,856 maximum it could possibly be entitled to

if any disgorgement was legally authorized. The SEC is opposing a stay in the hope of inducing

this Court to award an unauthorized amount so large as to make it financially difficult, if not

impossible, as a practical matter for Defendants to appeal the erroneous summary judgment, i.e.,

the SEC seeks to effectively avoid review of the erroneous summary judgment it obtained.



                            A. No Stipulation For Retained Jurisdiction

       The SEC next incorrectly argues that this Court somehow retains jurisdiction after notice

of appeal is filed because the undersigned stated in a letter that Defendants’ filing of the notice of

appeal was precautionary. Aside from mischaracterizing the purport of the letter, the Defendants

cannot (and did not) stipulate to this Court retaining jurisdiction to decide whether to award




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remedies. 1 The parties cannot (and the letter did not) stipulate to retained jurisdiction by this

Court. United States v. George supra 841 F3d. at 71-72. [“Although neither party challenges the

district court’s jurisdiction to enter its forfeiture order, we [the Court of Appeals] have an

independent obligation to explore that issue.” … The district court made clear… that forfeiture

remained an open, unresolved issue and took no position as to whether forfeiture would be

ordered at all. Under these circumstances the pendency of the appeal deprived the court of

jurisdiction to issue its amended judgment awarding forfeiture.” Here too this Court left open

whether it would award remedies “at all” (DKT#253). The notice of appeal divests this Court of

jurisdiction to award any remedies.



    II.      THIS COURT SHOULD STAY ANY DECISION ON DISGORGEMENT
             “REMEDIES” UNTIL THE SUPREME COURT DECIDES THE ISSUE

          Even if this Court has retained jurisdiction to decide whether to award remedies, it should

stay any decision until the Supreme Court decides the crucial predicate issue of whether this

Court can even award disgorgement (in any amount) let alone the $28 million the SEC seeks.

Incredibly the SEC is insisting that this Court possibly commit serious legal error by proceeding

to decide to award disgorgement when the very issue, of whether disgorgement can even legally

by awarded in an SEC civil enforcement case, is presently under submission by the Supreme

Court. It makes no sense for this Court to decide that legal issue when the Supreme Court may

well decide that disgorgement is not a remedy that the courts can award. Or even if


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 The undersigned’s letter to this Court was not a concession that the appeal was improper. The letter was meant to
notify this Court that an appeal had been taken, that Defendants were not trying to circumvent this Court’s remedies
briefing, but rather, given the SEC’s past modus operandi of taking questionable positions, Defendants’ (counsel)
was concerned that the SEC might take the position that a notice of appeal filed more than 60 days after the
summary judgment order would be untimely. Defendants’ counsel did not want to risk not filing opposition to the
SEC’s motion for remedies (even though this Court was divested of jurisdiction to make any remedies ruling) in the
event this Court proceeded to make a decision on “remedies.”

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“disgorgement” can be awarded, whether it must be equitably limited to a form of restitution or

recission so the parties are returned to the status quo prior to the violation, with a return to the

“victims” of the amount, if any, they lost (offset by their gains) to restore the status quo.

       It would be imprudent and an enormous waste of time, effort and judicial resources and

would irreparably harm Defendants, for this Court to render a possibly incorrect remedies

decision without knowing the correct law to apply. If this Court proceeds to rule and awards

disgorgement, in any amount, and the Supreme Court issues its decision in Liu that disgorgement

is not a remedy, then this Court will have needlessly committed reversible and possibly

irreparable error. That decision would have to be relitigated and corrected, applying the correct

law; but by that time it might be too late to correct that error and the summary judgment error.

The prudent, correct and fair course of action is to stay any decision until the Supreme Court

rules and sets forth what the law is. That is what the courts have done when, as here, a

controlling issue of law is being determined by a higher court.

       The SEC’s anemic attempt to distinguish the decisions of other courts that have stayed

deciding issues where a higher court was deciding a controlling issue, is without merit. Contrary

to the SEC’s assertions, the cases cited by Defendants are on all fours. In Marshel v. AFW Fabric

Corp. 552 F2d. 471, 472 (2nd Cir. 1977) the Second Circuit directed the district court to stay any

decision on whether to award damages to plaintiffs for defendants’ violation of Rule 10b-5 until

the Supreme Court, in a case then pending before it, ruled on the legal issue of whether there was

any shareholder private right of action for damages under Rule 10b-5.

       Likewise, in Bechtel Corp v. Local 215 Laborer’s Intn’l Union 544 F2d. 1207, 1215 (3rd

Cir. 1976); Beydoun v. Holder 2015 WL 631948 at *3-4 (E.D. Mich. Feb. 13, 2015); Momenta

Pharmaceuticals v. Amphastar 323 F. Supp. 3d. 142, 147 (D. Mass. 2018) the courts all stayed



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action pending decision by another court that had a controlling impact on the subject court’s

decision. See also Amazing Raisins v. Ocean Spray Cranberries Inc. 2008 WL 11510854 at *1

(D. Mass Aug. 8, 2008) [district court stayed its decision whether to award attorney fees after its

grant of summary judgment pending decision by Federal Circuit Court as to the validity of its

summary judgment].



   III.      DEFENDANTS’ HAVE MET THE CRITERIA FOR A STAY

          Contrary to the SEC’s argument, Defendants have met the criteria for a stay. As set forth

above, the pendency of the Liu case which would control whether this Court has authority to

award disgorgement remedies is, alone, reason to stay this action. So is this Court’s lack of

jurisdiction. So is the prudence in staying a decision on whether to award any remedies until the

First Circuit decides whether the summary judgment order was even proper- if it was not, then a

stay will conserve judicial resources. Amazing Raisins supra at *1.



          A. Likelihood of Success

          Contrary to the SEC’s argument, there is a strong possibility of success on appeal, i.e.,

that the summary judgment order will be vacated because there was no evidence, let alone

undisputed evidence, that the two allegedly “false” statements in NAI’s marketing materials

were in fact false. The evidence in the record was that the statements were true. Likewise, the

evidence was at least in dispute as to whether Defendants knew the two statements were untrue

or that they acted with scienter or negligently. (Defendants presented evidence that they

reasonably believed the statements to be true, especially in light of the NASDAQ OMX letter;




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that they did not intend to defraud clients; that the statements taken in context were not material

and that they did not act negligently in their due diligence. See DKT# 284, pp. 5&6.

       It is highly likely that First Circuit will reverse the summary judgment order because it

was simply reversible error for this Court to decide those disputed, material, factual issues. Burns

v. Johnson 829 F3d. 1, 8 (1st Cir. 2017)



       B. Irreparable Harm

       The SEC argues that a decision on remedies will “help” Defendants by making the

decision appealable. The SEC is wrong. The summary judgment decision is already appealable.

As set forth above, an erroneous remedies decision before the Court knows the law on

disgorgement will cause Defendants irreparable harm, and as a practical matter could effectively

deprive Defendants of the ability to appeal it and the summary judgment. While this Court could

order a reduced bond or no bond or alternate security, there is no assurance it would, and it

would needlessly require more time, expense and briefing, all of which would be eliminated

pending Supreme Court and First Circuit Court decisions.



       C. Balance of Equities

       Contrary to the SEC’s argument, the balance of equities favors a stay. A stay until the

correct law is established outweighs the lack of harm to the SEC. The SEC’s claim, that the

interests of the clients and the SEC’s ability to police “fraud” are reasons to deny the stay, is

meritless. The clients are not harmed by a stay because they suffered no harm- they made over

$278 million in profit (DKT#277, p. 5). The SEC isn’t going to (and couldn’t) return any

disgorgement monies to the clients because the clients suffered no harm. The SEC intends to



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keep any disgorgement. So a stay doesn’t harm NAI’s clients. Nor does a stay inhibit the SEC’s

ability to “police.” If ultimately the SEC can prove to a jury that Defendants committed

violations and the Supreme Court rules that disgorgement is a remedy and not a penalty, the SEC

will then be able to properly “police” Defendants.



        D. Public Interest

        The public interest in the “integrity of the securities markets” is not harmed by a stay. To

the contrary. NAI stopped advising clients using the AlphaSector strategies in September 2013.

A stay so that there is a correct resolution of the case, based on an application of the correct law,

is what is in the public interest. It is in the public interest and in the interests of justice that the

Court wait for the correct law to be established so a correct decision can be made.




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                             REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument would be helpful to fully explain the merits of a stay

and to assist the Court in its determination.



                                          CONCLUSION

       For the reasons set forth above, Defendants’ motion for stay should be granted.



                                                Respectfully submitted,

DATED: May 24, 2020             LAW OFFICES OF SAMUEL KORNHAUSER
                                                By:/s/ Samuel Kornhauser
                                                Samuel Kornhauser, Esq.
                                                CA Bar No. 83528
                                                Law Offices of Samuel Kornhauser
                                                155 Jackson Street, Suite 1807
                                                San Francisco, California, 94111
                                                Telephone: (415) 981-6281
                                                Email: skornhauser@earthlink.net


                                                Attorneys for Defendants


                                                BROOKS & DeRENSIS
                                                Steven Brooks
                                                111 Devonshire Street, Suite 800
                                                Boston, MA 02109
                                                Telephone: (857) 259-5200
                                                Email: sbrooks@bdboston.com



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                                 CERTIFICATE OF SERVICE

       I certify that on May 24, 2020, a copy of the foregoing was electronically filed through the

ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: May 24, 2020                                   /s/ Dan Cowan
                                                          Dan Cowan




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